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10
11                       IN THE UNITED STATES DISTRICT COURT
12                               FOR THE DISTRICT OF ARIZONA
13
14    Kenneth L. Burnam,                                    No. 13-CV-01804-PHX-ROS

15
16                         Plaintiff,                      STIPULATION TO DISMISS

17           v.
18
19    Smith, et al.,
20                         Defendants.
21
22          It is hereby stipulated by Plaintiff Kenneth L. Burnam and Defendant Frank Jacobs,
23   by and through their respective attorneys, that this action be, and is hereby, dismissed with
24   prejudice, each party to bear its own costs and fees, pursuant to Rule 41(a)(1)(ii), Federal
25   Rules of Civil Procedure.
26   //
27   //
28   //
     Case 2:13-cv-01804-ROS Document 362 Filed 03/17/20 Page 2 of 3




 1       Respectfully submitted this 17th day of March, 2020.
 2
 3                                        MICHAEL BAILEY
 4                                        United States Attorney
                                          District of Arizona
 5
 6                                        s/ Kristina L. Morrison
                                          KRISTINA L. MORRISON
 7                                        ELIZABETH K. SICHI
                                          Assistant U.S. Attorneys
 8
 9                                        s/Daniel J. Inglese (with permission)
                                          DANIEL J. INGLESE
10                                        SNELL AND WILMER, L.L.P.
11                                        Attorney for Plaintiff

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 1                               CERTIFICATE OF SERVICE
 2          I hereby certify that on March 17, 2020, I electronically transmitted the attached
 3 document to the Clerk's Office using the CM/ECF System for filing and transmittal of a Notice
 4 of Electronic Filing to the following CM/ECF registrant:
 5
 6 Daniel J. Inglese (AZ Bar No. 33887)
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 7 400 E. Van Buren, Suite 1900
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10 s/Brian Wolfe
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